Case 18-51776-pmb   Doc 26   Filed 05/24/18 Entered 05/24/18 19:30:51   Desc Main
                             Document     Page 1 of 4
Case 18-51776-pmb   Doc 26   Filed 05/24/18 Entered 05/24/18 19:30:51   Desc Main
                             Document     Page 2 of 4
Case 18-51776-pmb   Doc 26   Filed 05/24/18 Entered 05/24/18 19:30:51   Desc Main
                             Document     Page 3 of 4
Case 18-51776-pmb   Doc 26   Filed 05/24/18 Entered 05/24/18 19:30:51   Desc Main
                             Document     Page 4 of 4
